




NO. 07-05-0455-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 13, 2006



______________________________





MICHAEL DAVID GERIK, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 223RD DISTRICT COURT OF GRAY COUNTY;



NO. 6918; HONORABLE LEE W. WATERS, JUDGE



_______________________________



Before REAVIS and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

Pending before this Court is appellant Michael David Gerik’s motion to dismiss his appeal. &nbsp;Pursuant to Rule 42.2(a) of the Texas Rules of Appellate Procedure, the motion is signed by appellant. &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;No motion for rehearing will be entertained and our mandate will issue forthwith.

Accordingly, the appeal is dismissed.

Don H. Reavis

 &nbsp;&nbsp;&nbsp;&nbsp;Justice





Do not publish.


